Case 1:08-cv-00165-BLW Document 61-2 Filed 09/29/10 Page 1 of 2

Duke Gniversity
DEPARTMENT OF POLITICAL SCIENCE
Box 90204
DURHAM, NORTH CAROLINA 27708
MICHAEL C. MUNGER TEL: 919-660-4301
PROFESSOR OF POLITICAL SCIENCE FAX: 919-660-4330
DEPARTMENT CHAIR MUNGER@DUKE.EDU

PROFESSOR OF ECONOMICS
PROFESSOR OF PUBLIC POLICY

January 11, 2010

Christ T. Troupis

Troupis Law Office P.A.
1299 E. Iron Eagle, Suite 130
P.O. Box 2408

Eagle, Idaho 83616

Dear Mr. Troupis:

You had requested that I supply certain information about my activities and costs. The
questions are reproduced below in italics; the answers follow each question.

Let me know if you need additional information.

1. A list of cases in which you have been retained and either provided written
testimony or gave testimony by deposition or at hearing in the last four years.

e Citizens United v. Federal Election Commission, argued March 24,
2009, reargued September 9, 2009, not yet decided. “Brief of Amicus—
Campaign Finance Scholars in Support of Appellant, Citizens United”
Allison Hayward, Lead Signer and Counsel of Record. (Decision
pending) (Text of Brief of Amicus:
http://www,.scribd.com/doc/17878231/Amicus-Scholars-Brief-in-Citizens-United-
Reargument# )

e Broward Coalition, et al., v. Browning, decided May 22, 2009. Written testimony
summarized in report, “Locking Up Political Speech: How Electioneering
Communications Laws Stifle Free Speech and Civic Engagement,”
http://www.campaignfreedom.org/doclib/20091008 locking up_political_speech.

pdf

e Libertarian and Green Parties of North Carolina, et al., v. State of North Carolina
argued May 5-6, 2008, decided May 27, 2008. Served as expert witness, testified
in court under oath, submitted extensive written testimony in affidavit. (Currently
under appeal before North Carolina Supreme Court)

Case 1:08-cv-00165-BLW Document 61-2 Filed 09/29/10 Page 2 of 2

2. Your hourly and/or daily rate of compensation for appearance at deposition and/or
hearing.

Appearance at deposition or hearing: $150 per hour, if within day trip distance. $500 per
day (including travel days) plus expenses if overnight travel is required.

3. Compensation rate for research and preparation of your expert report
$150 per hour, plus reasonable and necessary expenses of preparing report, including
xerox, phone, and fax use.

Sincerely, ‘

Michael C. Munger

(Note: Letterhead used only for identification purposes. The opinions expressed here are
Munger’s alone, and do not reflect the views or activities of Duke University)
